        Case 1:21-mi-55555-JPB Document 480 Filed 03/10/23 Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                                                            Master Case No.
 IN RE GEORGIA SENATE BILL 202
                                                          1:21-MI-55555-JPB

                  UNITED STATES’ OPPOSITION TO
         STATE DEFENDANTS’ MOTION TO EXTEND DISCOVERY

      The United States opposes the State Defendants’ Motion to Extend Discovery

filed on March 3, 2023. See State Defendants’ Motion to Extend Discovery, ECF No.

453 (“Defs.’ Brief”). As this Court’s standing and consolidation orders contemplate,

the United States has worked diligently to complete discovery, including working with

the Private Plaintiffs to streamline discovery requests. Delaying the schedule further,

including vacating any briefing schedule on summary judgment, risks the State arguing

later that relief on the Plaintiffs’ claims for the 2024 election cycle would be “too late”

under the Purcell doctrine. See generally Order, ECF No. 241 at 27 (citing Purcell v.

Gonzalez, 549 U.S. 1 (2006)). For these reasons, the State’s motion should be denied.

I.    Delaying the Schedule Further Could Result in State Defendants’ Arguing
      Purcell Concerns Later in the Year.

      In 2024, the State of Georgia will likely hold a federal primary election around




                                             1
        Case 1:21-mi-55555-JPB Document 480 Filed 03/10/23 Page 2 of 8




May 21 and will hold a general election on November 5. 1 We also understand that a

proposal has also been made for Georgia to hold the Democratic presidential

preference primary earlier, perhaps as early as February 13, 2024. 2 Under current law,

voters can begin requesting absentee ballots 78 days prior to an election. O.C.G.A.

§ 21-2-381 (a)(1)(A). The 78-day mark for the May primary would be around March

4, 2024, and the 78-day mark for a February 13, 2024 presidential preference primary

would be November 27, 2023.

      In an order last year, this Court provided guidance to the parties on the

application of Purcell in this case. See August 18, 2022 Order at 62-73, ECF No. 241.

This Court found that Purcell barred injunctive relief sought by some Private Plaintiffs

for the November 2022 election, even where a ban on providing food and water to

voters waiting in certain parts of the line to vote was likely unconstitutional. ECF No.

241 Order at 61, 71-73. Requests for absentee ballots in the 2024 election cycle might



1
   The State has not yet announced a date for the primary election in 2024, but it is
typically conducted in May. In 2022, the primary election occurred on May 24. In
2020, the primary was originally scheduled for May 19, before delays caused by the
COVID-19 pandemic.
2
   See Francesca Chambers, Democrats approve 2024 primary calendar that demotes
Iowa, boosts South Carolina, USA Today (Feb. 4, 2023),
https://www.usatoday.com/story/news/politics/2023/02/04/democrats-2024-
presidential-primary-calendar/11180347002/. See also O.C.G.A. § 21-2-191 (allowing
the Secretary of State to select a date for a presidential preference primary).
                                           2
        Case 1:21-mi-55555-JPB Document 480 Filed 03/10/23 Page 3 of 8




begin as early as this year, depending on when the presidential preference primary is

scheduled. The United States challenges several aspects of the absentee voting

process, including the type of information that voters must provide when completing

an application. The United States wants to ensure that there is sufficient time to

implement any relief on its claims in this case. Further delays in the discovery

schedule could result in the Defendants later arguing that any court-ordered relief that

results in changes to the absentee ballot application process will be “too close in time”

to the 78-day mark ahead of any presidential preference primary.

II.   The United States Has Worked Diligently to Complete Discovery in This
      Case.

      The United States has satisfied its discovery obligations and met its deadlines,

despite delays in the State Defendants’ production of documents.

       The United States began its production of documents on April 8, 2022, actively

produced documents throughout 2022, and completed its production on November 25,

2022. As required by Federal Rule of Civil Procedure 26(e), the United States has

supplemented its production with a small number of documents as they became

available or known. 3



3
  Specifically, in two supplemental productions since November 25, 2022, the United
States produced 28 documents from its own files and 102 documents that it had
received in response to third party subpoenas after November 25, 2022.
                                            3
        Case 1:21-mi-55555-JPB Document 480 Filed 03/10/23 Page 4 of 8




      The United States and the Private Plaintiffs served one set of consolidated

requests for production on the State Defendants on February 14, 2022. The State did

not begin to produce responsive email communications until August 23, 2022,

although it made certain data files and other materials available earlier. The State

waited until December 29, 2022 to produce more than 800,000 pages of responsive

documents, and because of the method by which the State produced the information

(by hard drive rather than a secure FTP site as required by the ESI Order in this case,

see ECF No. 120-1, ESI Order ¶ II.D.3.a (Mar. 21, 2022)), Plaintiffs did not have

access to this production until January 2023.

      In addition, the United States and the Private Plaintiffs have served coordinated

deposition notices. These depositions began in May 2022, and continued in the fall

and winter of 2022. Three depositions of State witnesses took place during the week

of March 6; about five or so depositions of State witnesses remain to be conducted.4

The State, in contrast, did not conduct any depositions in 2022. On December 22,

2022, the State sent a list of 61 potential deponents, but it was not until mid-January

2023 that it suggested any dates for those depositions.



4
  The parties have agreed, at the State’s request, that two of these State witness
depositions can occur “out of time” the first week of April, to accommodate the
witnesses’ work schedules.

                                            4
        Case 1:21-mi-55555-JPB Document 480 Filed 03/10/23 Page 5 of 8




      As to experts, by January 13, 2023, the State knew the number of plaintiffs’

experts in this case as the reports had been served or, in a small number of cases, the

parties had negotiated an extension of the expert report deadlines due to health

emergencies and other issues. On February 14, counsel for the United States and

Private Plaintiffs provided the State with a suggested schedule for depositions for all

plaintiffs’ experts, but the State did not respond to provide dates until March 8, when

counsel provided dates for depositions of about half of those experts.5

      The United States and Private Plaintiffs consolidated their requests for

production and their notices of depositions, and coordinated to avoid duplicative

interrogatories and requests for admission. They have provided a handful of points of

contact for all six plaintiff groups throughout the entire discovery process and one

point of contact for negotiating search terms for communications. In short, the United

States and Private Plaintiffs have worked cooperatively among themselves to conduct

discovery in this case on as efficient a basis as possible. 6


5
  To date, Defendants have not sought to depose any of the fact witnesses identified by
the United States in its disclosures, which it updated in 2022. As the United States has
learned of additional fact witnesses, such as voters from the November 2022 general
and December 2022 runoff elections, it will update its disclosures of fact witnesses in
the coming days.
6
  The United States will not seek to respond here to every characterization of the
course of events in this case set forth in Defendants’ motion. However, we note that
contrary to the assertion in Defendants’ brief that the “Plaintiffs orchestrated their
                                              5
        Case 1:21-mi-55555-JPB Document 480 Filed 03/10/23 Page 6 of 8




III.   CONCLUSION

       The State’s requested extension is not warranted by the facts. For the foregoing

reasons, the United States opposes Defendants’ motion for an extension of the

discovery schedule. If the Court is inclined to grant a short extension, the United

States asks the Court to limit any extension to two weeks.




efforts to spread broad allegations and claims across several complaints,” Defs.’ Br. at
3, the United States conducted its own investigation and made its own decisions about
filing its Complaint here.

                                            6
       Case 1:21-mi-55555-JPB Document 480 Filed 03/10/23 Page 7 of 8




Respectfully submitted this 10th day of March, 2023.

Ryan K. Buchanan                          Elise C. Boddie
United States Attorney                    Principal Deputy Assistant Attorney General
Northern District of Georgia

/s/ Aileen Bell Hughes                    /s/ John A. Russ IV
Aileen Bell Hughes                        T. Christian Herren, Jr.
Georgia Bar No. 375505                    John A. Russ IV
Assistant U.S. Attorney                   Jasmyn G. Richardson
Office of the United States Attorney      Maura Eileen O’Connor
600 U.S. Courthouse                       Rachel R. Evans
75 Ted Turner Drive, SW                   Sejal Jhaveri
Atlanta, GA 30303                         Ernest A. McFarland
Phone: (404) 581-6000                     Elizabeth M. Ryan
Fax: (404) 581-6181                       Attorneys, Voting Section
                                          Civil Rights Division
                                          U.S. Department of Justice
                                          4 Constitution Square
                                          150 M Street NE, 8th Floor
                                          Washington, D.C. 20530
                                          Phone: (800) 253-3931
                                          Fax: (202) 307-3961
                                          john.russ@usdoj.gov




                                         7
        Case 1:21-mi-55555-JPB Document 480 Filed 03/10/23 Page 8 of 8




                         CERTIFCATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), I hereby certify that the forgoing motion has been

prepared in Time New Roman 14, a font and type selection approved by the Court in

L.R. 5.1(C). I further certify that on March 10, 2023, I filed the forgoing with the

Clerk of the Court using the CM/ECF system, which will send notification to all

counsel of record in this case.


                                                /s/ John A. Russ IV
                                                John Albert Russ IV




                                            8
